
42 So.3d 806 (2010)
Valerie Denise POPE, Appellant,
v.
Donald POPE, Appellee.
No. 4D09-1413.
District Court of Appeal of Florida, Fourth District.
June 9, 2010.
Rehearing Denied August 11, 2010.
Valerie Denise Pope, Lauderhill, pro se.
No appearance filed for appellee.
*807 PER CURIAM.
Affirmed.
WARNER, DAMOORGIAN and LEVINE, JJ., concur.

ON MOTION FOR REHEARING
PER CURIAM.
The motion for rehearing is denied. The issues raised by appellant were not properly preserved at the trial level. See Sunset Harbour Condo. Ass'n v. Robbins, 914 So.2d 925, 928 (Fla.2005) ("`In order to be preserved for further review by a higher court, an issue must be presented to the lower court and the specific legal argument or ground to be argued on appeal or review must be part of that presentation if it is to be considered preserved.'" (quoting Tillman v. State, 471 So.2d 32, 35 (Fla.1985)) (emphasis added); see also Simmons v. Simmons, 979 So.2d 1063, 1064 (Fla. 1st DCA 2008) ("The findings required by section 61.075(3)(b) help to facilitate the right of appellate review. However, that objective would not be advanced if we were to ask trial judges to fill gaps in the evidence by making their best estimate of value. We do not think that a trial judge should guess at the value of an item of property merely to satisfy a statutory requirement of form.").
WARNER, DAMOORGIAN and LEVINE, JJ., concur.
